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                             IN THE UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION


              UNITED STATES OF AMERICA,               Jacksonville, Florida

                    Plaintiff,                        Case No. 3:20-cr-86-TJC-JBT

              vs.                                     May 10, 2022

              JORGE PEREZ, et al.,                    8:55 a.m.

                    Defendants.                       Courtroom No. 13A


            _____________________________




                                  JURY TRIAL PROCEEDINGS
                                        (VOLUME I)
                         BEFORE THE HONORABLE TIMOTHY J. CORRIGAN
                            UNITED STATES DISTRICT COURT JUDGE




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                 (Proceedings     reported   by   mechanical   stenography;
            transcript   produced   by   computer.)
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        1   are almost impossible to enforce, but I try, especially --

        2   because we're going to take a break for lunch after this next

        3   argument.

        4               MR. RAFFERTY:    I'm just going to get Mr. Durall.

        5               THE COURT:    That's fine.     Sure.

        6               Are they ready?     Oh, really?    Okay.   All right.

        7        (All parties present.)

        8               THE COURT:    All right.    Let's have the jury, please.

        9               COURT SECURITY OFFICER:      All rise for the jury.

       10        (Jury enters, 12:00 p.m.)

       11               THE COURT:    All right.    Everybody may be seated.

       12   Thanks.

       13               Do we have everybody?

       14               Okay.   Mr. --

       15               MR. SADOW:    Sorry, Your Honor.       Thank you.   Sorry for

       16   the interruption.

       17               THE COURT:    No problem.    Five-minute breaks are hard

       18   to enforce.    It's a little bit hard to -- but since we're going

       19   to take a lunch break after this, I thought we'd...

       20               All right.    Mr. Schwartz, are you going to be making

       21   an opening statement on behalf of Mr. Porter?

       22               MR. SCHWARTZ:    Yes, sir.

       23               THE COURT:    All right.    You may proceed.

       24               MR. SCHWARTZ:    Thank you, sir.

       25               Good afternoon.     My name is Seth Schwartz.       And I
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        1   represent James Porter, along with Albert Tasker, who's my

        2   co-counsel.

        3               I'm not going to take that long, but I want to talk

        4   about the sensational claims that the government made when they

        5   got up here.    $1.4 billion, and then tells you, Well, that was

        6   claims, and 400 million was paid.        That's not unusual in health

        7   care.

        8               A doctor does a procedure, bills $1,000.         The

        9   insurance company comes back, pays 300 bucks.          Happens all the

       10   time.   It's not a big deal.      So don't let the government tread

       11   on your emotions.     That's what they're trying to do.        1.4

       12   billion, but we're really talking about 400 million.

       13               Pay attention to the actual evidence, not the

       14   emotional part of what the government is going to try to give

       15   you.

       16               Mr. Porter made a few million dollars not just as

       17   part of this business arrangement, but as a lab owner handling

       18   all of the contracts that he had prior to this business

       19   arrangement.

       20               He didn't make $400 million like what the government

       21   is trying to sell, a couple million dollars, no different than

       22   he made previously.

       23               What he did was completely legal, 100 percent legal.

       24   You'll hear evidence of all of this.        The contracts allowed it.

       25   The provider manuals that explain to the providers what they
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        1   can and can't do allowed it.

        2               You saw the e-mail from RightCHOICE/Anthem, which is

        3   a parent of the Blues, among Florida Blue and Georgia Blue and

        4   BlueCross Missouri, and all these other Blues, that says, We

        5   can't hold them to the pass-through rule because the contract

        6   doesn't prohibit it.      These contracts allowed it.

        7               You'll hear a term called CMS, Center for Medicare &

        8   Medicaid Services.     It is a federal series of rules and

        9   regulations.    The federal government promulgates those rules.

       10   CMS guidelines allowed it.

       11               You'll hear evidence that when a contract is silent,

       12   you go to CMS guidelines to figure out what's allowed and

       13   what's not.    CMS guidelines allowed it.       All of this was

       14   absolutely legal.

       15               The government talked about they're going outside of

       16   their geographical areas and boundaries.         There is nothing in

       17   the law, nothing in the contracts, that limits a geographical

       18   area, nothing.     You will not hear any evidence that says that

       19   the law says that you have to stay within a certain

       20   geographical confine.      It doesn't exist.

       21               There were over 1,000 -- over 1,000 separate

       22   independent medical doctors that made decisions on signing

       23   these orders, very similar to prescriptions, asking for this

       24   testing, for a variety of reasons, independent doctors.            You

       25   will hear no evidence that my client had anything to do with
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        1   paying those people, providing any kind of benefit to them,

        2   bribing them, or anything else.

        3               They made these decisions as independent medical

        4   doctors because they needed to test their patients the way that

        5   they needed that done.

        6               You heard the government talk about giving samples at

        7   Quest or Labcorp.     You'll hear evidence how those big companies

        8   send samples all over the place.

        9               Just because an individual goes to a Quest in

       10   Jacksonville doesn't mean that that test is done in

       11   Jacksonville.     That test could be done in California.        It could

       12   be done in New York.      It goes all over the place.       That's

       13   normal in the health care field.        There's nothing nefarious

       14   about what my client did.

       15               And, again, even Anthem, the parent company for the

       16   Blues, said, We can't hold them to this pass-through because

       17   the contract is silent as to it.

       18               You'll hear the term pass-through billing.         The

       19   government is going to use that.        All pass-through billing is

       20   is subcontracting.     Hospitals subcontract every day.

       21               The evidence is going to show that to you.         It is not

       22   unusual for a hospital to subcontract out services that it

       23   performs.    It's done regularly.      That's all that this was, were

       24   a series of subcontract agreements.

       25               The government didn't tell you that the hospitals did
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        1   make money.    The hospitals absolutely made money.         All of these

        2   hospitals were in terrible debt before it started.           In fact,

        3   Putnam is still in business today, doing well.          It was on the

        4   verge of destruction before my client assisted with Putnam.

        5                All of this testing was fully disclosed in the claims

        6   that were filed.     The labs were listed.      The codes that

        7   identify -- and you'll learn a lot about these different codes,

        8   but the codes that identify the type of testing that was done

        9   was fully disclosed.

       10                And those codes are designed by the federal

       11   government.    CMS, Center for Medicare & Medicaid Services,

       12   creates codes and creates billing forms to keep everything

       13   universal.

       14                And the way hospitals bill is what's called a UB-04,

       15   Universal Billing 2004.      That's the updated version.       And those

       16   forms have very specific boxes.        And within those boxes very

       17   specific information has to go.        And certain things can go and

       18   certain things can't go.      And so all of those codes were

       19   followed.

       20                The insurance companies were put on notice of all of

       21   this stuff.    You'll hear about the 141 code.        The 141 code

       22   designates a nonpatient billing.        You've got inpatient,

       23   outpatient, and then you've got a nonpatient.          A nonpatient is

       24   somebody that never appeared at the facility, but yet their

       25   specimen, in this case urine, did, and was tested.
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         1              And you heard Mr. Rafferty talk about code 22.          That

         2   is super, super important.      The reason it's so important is

         3   because it was never put on any of the claims that my client or

         4   the other defendants filed, never.

         5              And the reason it was never put there is there wasn't

         6   a spot for it, yet that was the basis of this entire

         7   investigation.

         8              And you'll hear evidence of how, when the grand jury

         9   was talked about -- or when these individuals talked to the

       10    grand jury, they talked about code 22.        And they talked about

       11    the importance of code 22.      And there were a number of

       12    witnesses that talked about code 22.

       13               And what code 22 tells you is that the place of

       14    service, like Mr. Rafferty said, where the urine was collected,

       15    or where the blood was collected, was at the hospital, boots on

       16    the ground in the hospital.

       17               That was made up by the insurance companies.          It will

       18    appear nowhere in the original billing data.         It was created by

       19    the insurance companies.

       20               And you'll hear information how the insurance

       21    companies knew about that, didn't disclose it to the defense,

       22    don't know if they disclosed it to the government, but it was

       23    100 percent made up.     It never came from any of these

       24    defendants.

       25               My client hired a number of attorneys, but
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         1   specifically one.     His name is Mark Thomas.      He is board

         2   certified by the Florida Bar in health care law.          Basically,

         3   he's an expert in health care law.        He's considered a board

         4   certified specialist.     He is one of about 130 health care board

         5   certified specialists in the state Florida, one of 130, out of

         6   over 100,000 lawyers in the state of Florida.

         7               He formerly worked for the Florida Attorney General

         8   and the Medicaid fraud section as its chief.         He also was a

         9   legislative attorney for the Florida Senate.         And he advised my

       10    client on what he could and couldn't do.

       11                And not only did he give him an opinion.        He wrote

       12    the contracts.    And he said, Follow the contracts.        It will be

       13    okay.   You'll be fine.     You're operating well within the bounds

       14    of the law.    And so that's what my client did.        He followed

       15    those contracts just like a roadmap.

       16                This is an individual that is an expert in health

       17    care law.   He has worked for the State pursuing fraud.          He

       18    knows what he's doing.      And he wrote the contracts for my

       19    client to follow.     And my client followed those contracts,

       20    absolutely followed them.

       21                There was a lot of money that was put into Putnam

       22    Community Hospital to get the lab up and going, to expand

       23    things, lots of money.      These machines are not cheap.       They're

       24    very, very expensive instruments.

       25                All of the information that comes with them is
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         1   expensive.    The directors that run these things and the PhDs

         2   and the scientists that run them are very expensive.           Lots of

         3   money was put into this organization.        It was a legitimate

         4   organization, kept legitimate records, had legitimate e-mails.

         5                None of this was nefarious.     None of this was in the

         6   shadows.   This was not an intent to defraud.        It was a

         7   legitimate business that operated well within the contracts and

         8   well within the confines of law.

         9                Let's talk about the dirty real quick.       Let's talk

       10    about what Mr. Rafferty was talking about with the CGH server

       11    that the FBI had in their possession and came back and said,

       12    Oh, nothing to see here.      We didn't find anything.      The FBI.

       13                 They were provided this server by the hospital, yet

       14    they couldn't find anything on it.        But when the defense team

       15    opened it up, there was a pile of information related to all

       16    the testing that was done.

       17                 The testing in this case was actually done.        There's

       18    no evidence to suggest it wasn't done.        It was done.     All of

       19    those tests were ordered by independent physicians.           Not one or

       20    two doctors that operated in, you know, some shadow, but by

       21    over 1,000 separate doctors, all of these tests were done.

       22                 The case agent that was in charge of this entire

       23    investigation -- that's the person at the top, the case agent.

       24    FBI Agent Robert Schwinger handled this investigation for

       25    years, error after error after error.        You're going to hear
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         1   evidence of all of that.

         2                Right before the indictment dropped -- the indictment

         3   dropped, I believe, in May of 2020.        April of 2020, Agent

         4   Schwinger retires from the FBI.       In May of 2020, he becomes the

         5   manager of fraud investigation for Florida Blue.

         6                He could have worked anywhere in the country,

         7   anywhere in the world.      Just happens to land at Florida Blue.

         8   And you're going to hear of all of the errors that, quote, he

         9   didn't catch, yet somehow he winds up -- not as an entry-level

       10    person, but as a manager of the fraud investigation unit at

       11    Florida Blue.

       12                 Please pay attention to all of the evidence.        The

       13    government gets to go first.       And they put on all of their

       14    witnesses.    When they're done, then the defense teams get to

       15    go.

       16                 So until all of the evidence has been presented,

       17    you're not going to be able to see all of it.          Please don't

       18    make up your mind or start thinking a certain way until you've

       19    seen everything.     Because there's a lot of moving parts here.

       20                 This case is full of reasonable doubt.       The whole

       21    basis of the indictment was predicated on information that was

       22    false, provided by the insurance companies.         And you'll hear

       23    the number of witnesses that testify to the grand jury and how

       24    much effort they put into that false information.          And you're

       25    going to see that it was absolutely false.         There is reasonable
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         1   doubt everywhere.

         2              My client operated a legitimate business with

         3   legitimate attorneys and legitimate CPAs and legitimate

         4   contracts and corporate structure.

         5              I believe that when you come back, after hearing all

         6   of the evidence, with your deliberations, you're going to find

         7   the only thing that you can come back with is a not guilty

         8   verdict.

         9              Thank you.

       10               THE COURT:    Thank you.

       11               Mr. Rowland, I'm thinking about letting you go ahead

       12    and go now, if that -- if that will be all right, since that

       13    was such a -- a shorter opening statement.

       14               Are you prepared to do that?

       15               MR. ROWLAND:     I'm fine with that, Your Honor.

       16               THE COURT:    Everybody okay?

       17               MR. ROWLAND:     I think the jury might want to get

       18    lunch.

       19               THE COURT:    Go ahead?

       20               JUROR:    No, keep going.

       21               THE COURT:    Okay.    We're going to go ahead, sir.

       22               MR. ROWLAND:     Yes, sir.

       23               THE COURT:    Thank you.

       24               And then I promise we'll get lunch after this one.

       25    But please give Mr. Rowland the same attention you've given
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         1   everybody else.

         2                And you may proceed when you're ready, sir.

         3                MR. ROWLAND:   Thank you, Your Honor.      May it please

         4   the Court?

         5                Ladies and gentlemen, I'm going to be very quick,

         6   because, like I said, I think you probably want to get to

         7   lunch.

         8                I have the distinct pleasure and privilege of

         9   representing Mr. Sean Porter, who's been sitting next to me the

       10    entire time.

       11                 I'm not going to belabor any of the points on the

       12    billing.   I'm not going to belabor any points on any of the

       13    very technical aspects of this, because my client is charged

       14    with three crimes, two counts of money laundering and one count

       15    of conspiracy to money launder.

       16                 And since he was introduced by the government as the

       17    money launderer, I want to make sure you know who he is.

       18                 You're going to hear testimony that Mr. Porter is a

       19    father, a husband, a legitimate business owner.          He and his

       20    brother, James Porter -- I know it's been referenced, but I'm

       21    going to be very explicit so you understand who everyone is --

       22    have worked together for almost 40 years; in that time, had

       23    several businesses.

       24                 But what we're looking at right now is -- beginning

       25    in 2012, began working for Pinnacle Labs.         And then in 2013,
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         1   Mr. Porter created a company, TYSI, LLC.         That company was

         2   providing essentially medical marketing.

         3               My co-counsel Mr. Rafferty kind of hit this on the

         4   head.    There's a reason that you weren't told certain things.

         5   There's a reason that we're having to come to you and tell you

         6   those things.    And it's because those pieces of information

         7   don't fit in to the government's case.

         8               Not just reasonable doubt, doubt, as in, Why wouldn't

         9   I have heard that?     For example, the e-mail from Ms. Burch

       10    talking about the fact that RightCHOICE has a contract that

       11    doesn't say that what a lot of these people were doing they

       12    couldn't do.    That's a huge part of this.

       13                Some other points real quick -- you'll hear testimony

       14    that none of the provider agreements said that the individuals

       15    who were involved in the billing couldn't do what they were

       16    doing.

       17                Now, I want to also back up to another thing that

       18    several of my co-counsel have said.        And that's focusing on the

       19    $1.4 billion.    That's a lot of money.      That's, what, nine

       20    zeros?    It's an incredible amount of money.       400 million in

       21    claims.

       22                My client is charged with money laundering for two

       23    transactions that involved $75,000 each.         Two.   He hasn't been

       24    charged with health care fraud.       He hasn't been charged with

       25    conspiracy to commit health care fraud.
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         1              And what you're going to find out, through the

         2   efforts of both myself and co-counsel, is that Mr. Rafferty was

         3   absolutely correct, these insurance companies didn't like the

         4   fact that they hadn't paid attention to what they were doing,

         5   and the contracts allowed what our clients were doing.

         6              And instead of attempting to work through that

         7   process, and instead of attempting to -- to figure out some

         8   kind of accommodation, what they did was turn a contract

         9   dispute into an alleged crime.       That's not how we're supposed

       10    to operate here.

       11               I'm not only going to ask you to pay close attention

       12    to the evidence that's presented, all of it, I'm also going to

       13    ask you to pay attention to what you're not shown, and why,

       14    because that's just as telling as what the evidence does show.

       15               Ask yourself why it -- the FBI, after having a server

       16    for eight months, the federal government having a server for

       17    eight months, says, Yeah, nothing on there, but then my

       18    co-counsels take that and find out that there's literally

       19    hundreds of thousands of records?       Why?   Federal government

       20    can't crack that?     That's not believable.

       21               The government isn't going to be able to point to any

       22    specific law that says that what the billing companies or the

       23    owners of these labs did was illegal, because it wasn't.

       24               The idea here at this point, I guess, is, Well,

       25    there's just so many claims that the insurance companies
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         1   couldn't possibly be -- couldn't possibly keep up with the

         2   number of them.    It's insane.

         3              You're also going to hear, specifically with Sean

         4   Porter, what his job was with TYSI and with Pinnacle.           I submit

         5   to you that what he is doing is the same thing that anyone else

         6   on that side of the room is doing, which is doing their job.

         7              Did some of these people make a lot of money?          Sure.

         8   Thankfully we live in a country where that's not yet criminal.

         9   But, instead, these insurance companies want to use the

       10    criminal law to resolve a billing dispute.

       11               Like I said, there's not just reasonable doubt here.

       12    There is very obvious doubt here.

       13               I submit that once we're done with all the evidence

       14    and you retire to the jury room, you go into your

       15    deliberations, you're going to look at the charges against

       16    Mr. Porter and you're going to find that the only reasonable

       17    verdict on both the conspiracy to commit money laundering

       18    charge and the two substantive money laundering charges is not

       19    guilty.   And that's because they weren't moving illegal money

       20    and no one agreed to do so.

       21               Thank you.

       22               THE COURT:    Thank you, sir.

       23               All right.    Ladies and gentlemen, we are going to

       24    take our lunch break now.      We will take an hour lunch break.

       25    That means -- if you could be back in the jury room, ready to
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                                           CERTIFICATE


               UNITED STATES DISTRICT COURT         )
                                                    )
               MIDDLE DISTRICT OF FLORIDA           )




                     I hereby certify that the foregoing transcript is a true

            and correct computer-aided transcription of my stenotype notes

            taken at the time and place indicated herein.



                     DATED this 6th day of July, 2022.




                                s/Shannon M. Bishop
                                Shannon M. Bishop, RDR, CRR, CRC
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                             IN THE UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION


               UNITED STATES OF AMERICA,               Jacksonville, Florida

                     Plaintiff,                        Case No. 3:20-cr-86-TJC-JBT

               vs.                                     June 21, 2022

               JORGE PEREZ, et al.,                    8:52 a.m.

                     Defendants.                       Courtroom No. 13A


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                                   JURY TRIAL PROCEEDINGS
                                        (VOLUME XIX)
                          BEFORE THE HONORABLE TIMOTHY J. CORRIGAN
                             UNITED STATES DISTRICT COURT JUDGE




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         1              THE COURT:    Mr. Schwartz, I believe you're up.

         2              MR. SCHWARTZ:     Yes, sir.    Thank you.

         3              THE COURT:    Welcome back, ladies and gentlemen.

         4              MR. SCHWARTZ:     Repeatedly through this case you've

         5   seen money, money, money.      They talked about it when they

         6   started.   The first words out of their mouth, 1.4 billion,

         7   400 million.

         8              The insurance companies talked about it.         You saw

         9   slides about it.     You heard witness after witness talk about

       10    it.

       11               What the government's trying to do is evoke your

       12    emotion, because when you're emotional you're not thinking

       13    clearly.   You're responsive based on that emotion.

       14               But what we're trying to do is get you to think about

       15    the facts, think about all the testimony you heard, think about

       16    federal law, and what is lawful and authorized and legal.

       17               Federal law allows pass-through billing.         You heard

       18    the experts.    You heard Mr. Thomas.      42 U.S.C. 1395(l), CMS

       19    guidelines, the gold standard when contracts are silent as to a

       20    situation, how it's interpreted.

       21               This case is full of reasonable doubt, clear doubt.

       22    There's no fraud.     There was no intent to commit fraud.

       23    There's no money laundering.       There's no false statement or

       24    omissions of material information.

       25               And in the end the insurance companies just cram down
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         1   that reimbursement rate.      They don't have the vehicle to

         2   continue.    They were just worried about how much they were

         3   paying.

         4                And you've seen evidence on that.      You've heard the

         5   testimony.    Proof beyond a reasonable doubt is proof so

         6   convincing you would be willing to rely and act on it without

         7   hesitation in the most important of your own affairs.           Anything

         8   less than that is reasonable doubt.        And, again, this case is

         9   full of it.

       10                 Now, Mr. Porter, Mr. Jim Porter, did not do this on

       11    his own.    He didn't create any of this on his own.        He heard

       12    about an organizational idea and he went to lawyers.           You heard

       13    Mark Thomas testify.     You heard him testify that other lawyers

       14    were involved also.

       15                 And Mark Thomas talked about a scenario where the

       16    idea that a laboratory can contract with a rural or critical

       17    access hospital to test their samples is absolutely authorized

       18    by federal law.    It's called under arrangement.

       19                 And under arrangement is not a very specific way of

       20    doing things.    It's more of a fluid way of doing things.          And

       21    there's certain things that need to happen to make that

       22    authorized.    You heard the same from expert Michael Arrigo.

       23                 So the scenario is that a hospital and a lab talk to

       24    each other in contracts for the lab to run testing.           The

       25    samples can be sent directly to the laboratory.          It doesn't
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         1   have to be sent to the hospital.

         2                The lab will do the testing and provide samples

         3   through the LIS system, the lab information system.           That's the

         4   same system that the hospital uses to put the data in about the

         5   testing.   And when they do that, they find out about the

         6   providers, the doctors, through their NPI numbers.

         7                The lab then provides the test results.       The hospital

         8   then bills it the only way the hospital is lawfully allowed to

         9   bill it, on a UB-04, or its equivalent CMS 1450, or the 837I

       10    you heard so much about.      And when the hospital bills those

       11    claims, it must use its own NPI and its own tax ID numbers.

       12                 Mark Thomas, Michael Arrigo talked about how it has

       13    to be done that way pursuant to federal law.         And that's what

       14    was done in this case.

       15                 So the billing is done and it's sent to the insurance

       16    companies.    The insurance companies then pay the hospital.             The

       17    hospital then pays the laboratory whatever their agreed-upon

       18    rate is, and they keep the difference.

       19                 Now, that's not the only model that was going on,

       20    because different hospitals were at different levels in this

       21    process.

       22                 Another model was the idea that a hospital was

       23    building its toxicology lab.       Millions of dollars were put into

       24    the lab at Putnam to get it up and operational, with the idea

       25    that the hospital then would handle its own testing and
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         1   wouldn't need that under arrangement scenario anymore.           But

         2   that doesn't make the under arrangement improper or unlawful.

         3              So while the under arrangement scenario is going on,

         4   Putnam is building out its lab, to the tune of millions of

         5   dollars, putting in the best equipment, state of the art, using

         6   PhDs to run that lab.     Their personnel are being trained at the

         7   top levels.

         8              And the idea was for that lab to become operational,

         9   understanding that the day that it opened it wouldn't be at 100

       10    percent.   And to think so is unreasonable.        It takes a little

       11    bit of time to get something running to full capacity.

       12               Now, you've heard lots of testimony about that lab

       13    opened up in the beginning of February.        Before then they were

       14    running an under arrangement model.

       15               Mark Thomas said that that was authorized by federal

       16    law.   Mark Thomas, who is a board certified specialist in

       17    health law with the Florida Bar, one of only 128 lawyers barred

       18    in Florida through the Florida Bar, out of 128,000 barred

       19    attorneys in Florida.     He is literally one of 1,000.

       20               You heard about his experience with the Attorney

       21    General's Office prosecuting Medicaid fraud.         You heard about

       22    his experience with AHCA, running that portion of AHCA which is

       23    responsible for licensing physician offices and clinics

       24    throughout the state of Florida, a state agency just like the

       25    Florida Attorney General's Office.
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         1                You heard about him being appointed as a Special U.S.

         2   Attorney to prosecute health care fraud issues in the Southern,

         3   the Middle, and the Northern Districts in the federal courts

         4   for the state of Florida.

         5                This is not some guy that was found on some corner in

         6   a strip center.    This is a specialist that understood the

         7   situation, that reviewed what Mr. Porter told him, and that

         8   said this is absolutely authorized.        Mr. Porter followed that

         9   advice to the letter.

       10                 The government has discussed Mr. Thomas' opinion at

       11    length.   And I want to show that to you.        I believe it is 69 --

       12    Government's Exhibit 69, I believe.        But I want you to pay

       13    attention to some important parts of this opinion.

       14                 They want to try to sell you that this opinion is

       15    about testing.    It's not.    Specifically it asked about

       16    Pinnacle's market and promotion, to market and promote the

       17    clinical laboratory toxicology testing services of Putnam

       18    County Memorial Hospital in Missouri to independent physicians.

       19                 Now, this is dated November 29, 2016.       It's very

       20    important.    Because the under arrangement model was going full

       21    throttle at Putnam at this time.       But what else was happening?

       22    Putnam's lab was being built and was expected to come online

       23    roughly about February.

       24                 So, again, when we look at this opinion, it talks

       25    about Pinnacle's marketing and promotional activities.           It
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         1   doesn't say Pinnacle testing for Putnam, because this is a

         2   different model.     This is what happens after the under

         3   arrangement is already going.       This is what happens when

         4   Putnam's lab comes online.

         5              Pinnacle will be merely educating physicians as to

         6   the benefits of Putnam County Memorial Hospital.          It's my

         7   understanding that Pinnacle will market and promote PCMH's

         8   toxicology testing to independent physicians who may order such

         9   testing for their patients.

       10               PCMH will provide toxicology testing for the

       11    physicians' patient specimens.

       12               And it goes on how PCMH will send the clinical test

       13    report results to the physicians and so on.

       14               It's my understanding that the marketing contract

       15    between PCMH and Pinnacle is -- and it goes on to what that

       16    marking contract will be.

       17               And the reason this is being done in -- November

       18    29th, 2016, is because it takes time to get the individuals in

       19    place and create this business model to promote Putnam's

       20    testing.

       21               He ends with, I do not perceive any substantial legal

       22    risk in the proposal, but I do perceive potential business

       23    risk.   While the proposed arrangement appears comfortably

       24    legal, third-party payer credentialing limitations could most

       25    certainly preclude reimbursement.
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         1              To the extent any commercial payer refuses to pay

         2   PCMH for its toxicology service, Pinnacle, in turn, will not be

         3   paid for its marketing and promotional services.

         4              Now, what we know about 141 claims is that they are

         5   nonpatient claims, meaning that somehow the hospital, when it's

         6   running its own toxicology lab, would have to reach out to

         7   clinics and practitioners throughout the country to say that,

         8   We are a full-service toxicology lab and we can take your

         9   samples, test them, turn them back around to you, and send you

       10    the results quickly.

       11               You've got to get somebody out there to let people

       12    know.   That's the marketing.      That's the promotional services.

       13    This is not a situation where you put an ad on TV, because

       14    you're targeting a very specific demographic, clinics and

       15    practitioners, and you say, Listen, we've got a lab, services

       16    that you can use, send us your sample, we'll turn it around

       17    quick, you'll be very happy with us.

       18               That's what the purpose of that opinion was.          It

       19    wasn't about Putnam has to test and samples had to go to Putnam

       20    to invalidate this under arrangement situation.

       21               The under arrangement was working completely fine and

       22    authorized.    And this was the secondary part of that, to get

       23    Putnam County online with its own lab, so it could do it

       24    itself.

       25               The under arrangement was never intended to be
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         1   permanent.    Millions of dollars were put into that lab to help

         2   the hospital.

         3                You heard both Mr. Arrigo and Mr. Thomas say samples

         4   could come from anywhere.      There wasn't any geographic

         5   limitation.    There wasn't any limitation to volume of samples.

         6   So long as the data was inputted by the hospital into the LIS,

         7   which is undisputed at this point, it was fine.          And that's

         8   what happened.

         9                There were over 1,000 independent physicians, over

       10    1,000, that didn't know each other, that didn't have ties to

       11    each other, that were ordering these tests based on the

       12    physician's own independent medical decision-making, that these

       13    physicians felt it was appropriate to order these tests, order

       14    confirmations when they wanted to, order screens when they

       15    wanted to.    Nobody made them do that.

       16                 And, again, I believe most importantly -- the idea of

       17    the billing and how that had to be done, you saw testimony or

       18    heard testimony from Mr. Thomas and Mr. Arrigo that the

       19    hospitals had to bill it this way.        That's based on CMS

       20    guidelines, federal agencies, federal rules.

       21                 They had to use their NPI.     They had to use their

       22    EINs.   And there's not a place on the 04 for any more

       23    information.    And I submit to you that if the government wanted

       24    to put more information on those 04s, they would amend their

       25    governmental form UB-04.
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         1              All of this information is reasonable doubt as to

         2   whether Mr. Porter acted to intentionally deceive or omit

         3   material information from anybody.

         4              Again, he went to a super qualified attorney, one of

         5   128 in the state of Florida, 128, to get this information.               He

         6   did disclose materially what was happening, fully disclosed it,

         7   and said, Am I okay to do this?

         8              And Mark Thomas said, Yes, as long as you do it this

         9   way, which has been explained, and Mark Thomas testified to,

       10    and Michael Arrigo agreed with, absolutely lawful, absolutely

       11    authorized.

       12               You saw the lab contracts.       These contracts were

       13    prepared by attorneys.      These were not Google contracts.       You

       14    can read them and see that it's not layperson language.

       15               You heard Mark Thomas talk about working with other

       16    lawyers.   A lot of people with a lot of specialized knowledge

       17    looked at this situation and gave it a thumbs-up and said it is

       18    absolutely authorized under federal law.

       19               Again, Mr. Michael Arrigo talked about this under

       20    arrangement model.     He talked about a transitioning model where

       21    the under arrangement continued while the lab was being built

       22    out; Michael Arrigo, who was hired by the Department of Justice

       23    on three separate occasions to give opinions.

       24               He agreed that the way this was billed was

       25    appropriate and was authorized.       The 141 code put the insurance
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         1   companies on notice that this was a reference lab billing.

         2              But what did you hear from Dr. K?        The insurance

         3   companies weren't paying attention to that.

         4              Really?    I submit to you there's no more important

         5   part of a UB-04 claim than the type of bill.         It tells the

         6   insurance companies what's going on.        Is it an emergency room

         7   visit?   Is it an inpatient or outpatient?        Or is it a

         8   nonpatient?    It tells them exactly what's happening.         And Dr. K

         9   says, Insurance companies weren't paying attention to that.

       10    They weren't looking at it.

       11               Well, you know what, their negligence in not looking

       12    at something does not create fraud, an intentional misstatement

       13    or omission by Mr. Porter.      It just doesn't.     It was disclosed.

       14               And the insurance companies cannot close their eyes

       15    and plug their ears and say, Nah, nah, nah, I didn't hear you;

       16    therefore, it doesn't exist.

       17               It doesn't work that way.       It was fully disclosed.

       18               And when Michael Arrigo is testifying to you, he's

       19    explaining where his opinion comes from.         He's well researched,

       20    over 80 citations to authority.       He doesn't say, like Dr. K

       21    said, It's my opinion, and since other people come to me for my

       22    opinion, therefore, I must be right.

       23               No.   He says, I look at federal law.        I look at

       24    federal rules.    I look at what's really happening in the health

       25    care business.    I look at all of these different bases of
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         1   authority in the environment.       And then from that I put

         2   together my opinion.     That is a sound opinion.

         3               People ask me what the weather is going to be like

         4   all the time.    Most of the time I'm wrong.       But just because

         5   people come to me about, What do you think the weather is going

         6   to be like, doesn't make it right, doesn't make me all knowing.

         7               Michael Arrigo backed up what he was saying.         Mark

         8   Thomas backed up what he was saying, from external sources,

         9   including federal law and federal rules.         Dr. K didn't.    He

       10    said, Because people come to me for my opinion, therefore, it

       11    is.   Ask yourself why.

       12                This was not something that was pulled out of a

       13    vacuum.   This has been going on for over 15 years, from what

       14    Dr. K said.    Pass-through billing is nothing new.

       15                So I submit to you if there was something that

       16    specifically said that you can't do it, some kind of law, or

       17    rule, or code, they'd have brought it up.

       18                Can I have 35F, please.

       19                Thank you.

       20                We've seen this e-mail over and over.        One of my

       21    co-counsel went over it.      But what I want to focus on is the

       22    top part.   And this is the e-mail where Heather Burch says, We

       23    can't hold them to the pass-through rule because there's

       24    nothing in the contract about it.

       25                But, more importantly, James Balcom -- and you heard
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         1   his testimony, when he sat right there and talked to you, Just

         2   wondering if there is/was a general rule or guideline that

         3   covered this issue, even if it wasn't spelled out in a specific

         4   contract.   Asking because I have no idea.

         5               And when I asked him about that, if he ever got a

         6   written rule or policy on it, what was his answer?          No.

         7               So that doesn't exist, at least within RightCHOICE,

         8   Anthem, Blue Cross Blue Shield, yet somehow these defendants

         9   are supposed to know -- they're supposed to figure it out

       10    somehow.    I have no idea how they're supposed to, but that's

       11    what the government wants you to believe.

       12                Mr. Balcom, if you recall, was a retired DEA agent.

       13    He knows how to investigate something.        He was looking for the

       14    general rule or guideline that covered this issue.          And he

       15    never got it.    If it existed, somebody would have said, Here it

       16    is.   It's right here.

       17                And then that same idea, when Dr. K was testifying --

       18    the government showed you a provider manual.         And in that

       19    provider manual it said pass-through billing is prohibited.

       20    The provider manual was from 2015.        They highlighted that.

       21                But where was it from?     Colorado.    They didn't tell

       22    you that.   That came out when I was questioning Dr. K.           And

       23    what did Dr. K say about that?

       24                The providers are responsible for the contracts and

       25    provider manuals in their home state.        And he acknowledged in
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         1   this case we've got hospitals in Missouri, Georgia, and

         2   Florida.   Nobody in Colorado.      And the labs are in Georgia and

         3   Florida.   Nobody in Colorado.

         4               Ask yourself why the government didn't bring it out.

         5   This is a Colorado manual and we know it doesn't apply, but

         6   let's look at this.

         7               Because they were hoping you wouldn't pick up on it

         8   and nobody else would.      When does it show up?      In Missouri's

         9   manual in September of 2017, well after the conduct in this

       10    case is done.    Then it shows up.

       11                But you know what the Colorado tells me -- or the

       12    Colorado, excuse me, manual tells me?        It tells me that Blue

       13    Cross/Anthem understood that this was a potential issue, and

       14    they knew it existed.     And if they wanted it in their Florida,

       15    Georgia, or Missouri manuals, they could have put it in there.

       16    In fact, they could have cut and pasted it in there.           But they

       17    didn't.

       18                And, remember, this was not anything new or novel.

       19    Dr. K said this has been going on for a long time, over 15

       20    years.    It's been known.

       21                Mr. Arrigo talked about TOB 14X, 141 claims, these

       22    reference lab nonpatient claims.       And he talked about the fact

       23    that they're not obscure and they're not hidden.          And we put up

       24    a demonstrative -- we can take this down, please.

       25                Thank you.
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         1              And if you recall this when Mr. Arrigo was

         2   testifying, we put up a demonstrative that talked about the 14X

         3   bill claims, the 141s.      And it occurred -- in 2017, 12.2

         4   percent of all laboratory claims were a type 141, 12.2 percent,

         5   almost 14 million individual claims.

         6              This is not something that's hidden or obscure.            This

         7   is happening all over the place out there.         And Mr. Arrigo

         8   talked about it.     Dr. K acknowledged that pass-through billing

         9   was nothing new.

       10               So if the insurance companies wanted to prohibit it,

       11    they could have.     They didn't.    And now, on the back side,

       12    they're coming back and saying, Oh, well, maybe we should have

       13    done more, but we didn't; therefore, we want to create a

       14    criminal situation and say to you that these individuals failed

       15    to tell us about it or omitted material information that we

       16    didn't know about it at the same time Dr. K is saying, They

       17    weren't paying attention to the 141, which, again, I submit to

       18    you is probably the most important piece of that UB-04, because

       19    that's where that claim starts, because if it's something

       20    different, let's say -- if it's a 121 that deals with inpatient

       21    and it's a claim for surgery, if it doesn't say that and it

       22    says nonpatient 141, but there's a surgical claim in there, and

       23    there's a claim for keeping somebody in the ICU for a week,

       24    they're going to wonder, Wait a minute, why are they asking us

       25    to pay for an ICU stay and surgery for a nonpatient?           This
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         1   doesn't make any sense.

         2                I submit to you they were paying attention to that

         3   141, because they wouldn't know what kind of claim anything

         4   was, and it wouldn't make any sense to them on why to pay

         5   something or why not to pay something.

         6                But the easiest thing for Dr. K to say, They weren't

         7   paying attention to it, because he can't get up there and

         8   explain, if they were paying attention to it, how they didn't

         9   know.

       10                 But, again, it's not obscure.      12.2 percent of all

       11    laboratory claims, almost one in eight, were nonpatient 141

       12    claims in 2017.

       13                 You heard about the in-network lab Quest.        If this

       14    was in-network, none of this would have happened.          That's what

       15    the insurance company witnesses were saying.

       16                 Well, let me remind you about this contract.        Quest

       17    Diagnostics, the in-network lab.       Hospital third-party billing

       18    agreement.

       19                 For purposes of this agreement, the terms

       20    "inpatient," "outpatient", "nonpatient" have the definitions as

       21    set forth in the applicable Medicare regulations.

       22                 Now, the government wants you to believe that CMS

       23    guidelines, Center for Medicare & Medicaid Services, don't

       24    apply, because this is commercial.        That's not what Quest

       25    thinks.   That's not what this says.
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         1               CMS guidelines are the gold standard.        That's what

         2   all the payers look to for definitions and for guidance.

         3               Each of the following is a "third-party payer" within

         4   the meaning of this agreement.

         5               It talks about Medicaid, Medicare, and commercial

         6   payers.   That's the way the health care space works.          They look

         7   to federal law and federal rules to define these important

         8   terms.

         9               It talks about for each test order submitted by the

       10    hospital or testing service to be performed by Quest, the

       11    hospital shall be responsible for informing Quest Diagnostics

       12    as to the status of the patient as an inpatient, outpatient, or

       13    nonpatient.    This is a specific designation.

       14                The testing services, it talks about commercial

       15    payers, outpatients and nonpatients only.         You can't do it with

       16    inpatients.    It talks about Quest Diagnostics will not bill

       17    third-party payers for testing it does not perform under the

       18    agreement; for example, tests that are referenced to another

       19    laboratory, including, without limitation, a Quest Diagnostics

       20    Center of Excellence, not specifically included as a provider

       21    under this agreement, which means that if they add another

       22    reference lab on top of themselves, then they can bill it the

       23    same way.

       24                So you literally could have reference lab on

       25    reference lab on reference lab doing the tests and it's still
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         1   authorized, as long as they add it.

         2              This was agreed to with Putnam County Memorial

         3   Hospital by its CEO on November 2nd, 2012, years before these

         4   defendants and my client, Mr. Porter, got involved with

         5   reference lab under arrangement testing.

         6              Again, Quest, the in-network lab that we heard would

         7   know to bill direct on a CMS 1500.

         8              No, they're doing the same thing.        And why?    Because

         9   it is authorized under federal law.        And the agreement --

       10         (Counsel confer.)

       11               MR. SCHWARTZ:     It had been going on since 2012.

       12               And, more importantly, after my client and these

       13    defendants stopped, it continued to go on.         And you saw the

       14    evidence that was admitted where the testing that was done was

       15    sent to Quest.    Quest didn't bill it directly on a 1500 like

       16    the insurance company said that they would have.

       17               No, they did the testing and they sent the results.

       18    And then they sent the invoice to the hospital.          The hospital

       19    then billed it on a UB-04, or its digital equivalent, the 837I,

       20    with the hospital's own NPI and EIN, the same exact thing that

       21    was going on with these defendants.

       22               The hospital then sent the claim, received the money,

       23    paid Quest whatever their agreed rate was, kept the difference,

       24    and did it again.

       25               Now, there's a minor distinction, but it's of no
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         1   consequence.    And the government wants to make a big deal about

         2   this.   With Putnam they did it with outpatients.         But there's

         3   no prohibition doing it with nonpatients.         There's a

         4   distinction without a difference.       And, in fact, this contract

         5   talks about it being okay with nonpatients.

         6                If it was so illegal, if there was so much fraud, if

         7   there was so much misrepresentation and omission, why is it

         8   still happening?

         9                And if you remember Ms. Pickens, who is a CEO, said

       10    that the insurance companies are well aware of this.           It is not

       11    a violation of any of their agreements.        And, in fact,

       12    RightCHOICE attorneys knew about it.        And it was still going

       13    on.

       14                 The reason it's going on is because it's entirely and

       15    completely lawful.     There's nothing illegal about it.        The

       16    insurance companies may not like it.        They may want something

       17    different.

       18                 But, unfortunately, for them, this is federal law.

       19    You heard Mark Thomas:      You don't like it, call your

       20    Congressperson.

       21                 They can change it.    They've chosen not to.

       22                 Reasonable doubt, did Mr. Porter act to intentionally

       23    deceive an insurance company or intentionally omit information

       24    to prevent them from understanding what's going on?           The answer

       25    to that is absolutely not.
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         1                Again, it's still happening with the insurance

         2   companies' own in-network lab, Quest, that they told you would

         3   not do this.    But they do it because it's legal, lawful,

         4   authorized.

         5                The government wants to try to tell you that this is

         6   so clear, easy, you can see all this stuff.         Well, it's clear

         7   as mud.   In fact, Dr. K was paid over $100,000 to try to

         8   explain how it's so clear and, again, couldn't come up with one

         9   citation to why his opinion was right.        Couldn't say, Look at

       10    this statute.    Look at this federal rule.       Look at this

       11    authority.    Nope.   My opinion.    I know what I'm doing;

       12    therefore, I'm right.

       13                 You saw the problems with this investigation.        You

       14    saw the problems with the insurance companies' investigation.

       15    You saw the problems with the data.        The case agent, the guy

       16    that was in charge of running this investigation up until the

       17    time of indictment, FBI Agent Robert Schwinger, went to work

       18    for Florida Blue.

       19                 Now, I submit to you:    Why would Florida Blue hire

       20    somebody that botched an investigation?        Well, those problems

       21    in the investigation all went to the benefit of the insurance

       22    company, all of them.

       23                 They didn't benefit the defendants.       They benefitted

       24    the insurance company.      And the insurance company got what they

       25    wanted, an indictment, so that they could go backwards in time
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         1   and say, You know what, we messed up, but we're going to try

         2   fix it backwards in time.

         3               And so what happened?     The agent in charge of this

         4   investigation, the case agent at the time, that produced all

         5   the information that led to an indictment, was given a job with

         6   their Special Investigations Unit at Florida Blue.          He was

         7   rewarded.

         8               I'm not going to talk about this too much, but let's

         9   talk about code 22, because it's important.         Code 22 is the

       10    outpatient services.     You heard from the witnesses.

       11                You can't have a nonpatient claim, where an

       12    individual never shows up on a campus hospital -- or the

       13    hospital's campus, and an outpatient claim at the same time.

       14                They are diametrically opposed.       It is like being up

       15    and down or wet and dry at the same time.         It is impossible.

       16                More importantly, you heard that code 22 has no place

       17    on a UB-04 -- there's not a place to put it -- yet the data

       18    that the insurance companies provided has code 22 all over it.

       19    And every one of those claims is a 141 claim.          You can't have a

       20    nonpatient and an outpatient at the same time.

       21                The majority of them admitted that.        They also

       22    admitted that the insurance companies created that code that

       23    investigators relied on.      Investigators from the insurance

       24    company relied on it.     And they thought it was a slam dunk.

       25                You heard Mr. Rafferty talk about it.        They thought
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         1   there's a smoking gun.      Aha, the defendants billed all of these

         2   claims as if people were at the hospital peeing in cups.           And

         3   we know that that's not true.       We got them.

         4              Yet that data was created by the own insurance

         5   companies that those investigators worked for.          That's what led

         6   this investigation.     That's what led this case.       That's what

         7   led this indictment.     And none of it is true.       None of it.

         8              You heard the insurance company say that it was

         9   created by them.     And then they tried to spin it a little bit,

       10    saying, Oh, well, what it really means is that the testing was

       11    done at the hospital.

       12               No, it doesn't mean that.       We showed you all the

       13    definitions.    No, it means outpatient services, somebody

       14    appeared at the hospital, boots on the ground on a hospital

       15    campus.   And we know that that's not true.

       16               And we also know that none of the billing that was

       17    provided by the defendants had code 22 on it, yet all of the

       18    claims data had it on there.       The insurance company just made

       19    it up.

       20               Let's talk about Dr. Waller for a minute.          He was the

       21    one that got up there and said that the thousand independent

       22    doctors, they don't know what they're talking about, and I'm

       23    going to look at some data and I'm going to decide that none of

       24    these claims, or the majority of these claims are not medically

       25    necessary, just, shoo, I'm Dr. Waller, so I know what I'm
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         1   talking about.

         2                A thousand-plus independent doctors having

         3   independent medical decision-making responsibilities and

         4   capabilities made decisions to test the way they did.

         5                You heard Dr. Solomon, one of the first witnesses you

         6   heard from the government put up:       When I do a screen, I want a

         7   confirmation every time.      I need the screen quick, because that

         8   helps me with my diagnosis and patient treatment.          I want the

         9   confirmation to see what's going on, kind of a trust-but-verify

       10    situation.    Because I want to know:      Is the screen accurate?

       11    Did somebody try to mask the screen?        Did somebody take a

       12    little bit of a pill and scrape a little bit into urine so the

       13    screen shows positive, but when I get the confirmation it's

       14    negative?    Or how much of that drug is in their system?

       15                 Because when they're providing their services and

       16    prescribing different drugs, they can overprescribe something

       17    not knowing what's going on.       So he said, As long as I get the

       18    confirmation before I see the patient next, I'm good.

       19    Typically it's 30 days.

       20                 But he got right there up and told you, government's

       21    witness, Dr. Solomon, that I ordered these because I need them.

       22                 Dr. Fender, she was the one that was Putnam's lab

       23    director.    You can't just look at an order and determine if a

       24    doctor should have determined it or not.         You need to call the

       25    doctor.
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         1              And then she said, even her, as a doctor, I will only

         2   call physicians that I know.       I won't call them when I don't

         3   know.   You need to contact the doctor to find out what's going

         4   on.

         5              Did Dr. Waller call any doctors?        No.   I don't need

         6   to is what he said.     Don't need to.

         7              Now, the government gave him two physicians that were

         8   witnesses for the government, and he looked at that

         9   information.    But all the other ones, over 1,000 other doctors

       10    throughout the country that are independent and not tied to

       11    each other in any way, did they pick up the phone and call them

       12    and say, Hi, I'm Dr. Waller.       I'm doing a little investigation.

       13    Would you mind talking to me?

       14               He was paid by the hour.       You heard him.    He charged

       15    over $120,000 just for him, and adopted information in a report

       16    from Dr. Clark, who charged the government about $325,000, so

       17    together about $450,000, because this is so clear anybody would

       18    know what's going on, but, most importantly with all this,

       19    Dr. Waller said he didn't have the provider information.           He

       20    didn't get the NPI information in his data set.

       21               Ask yourself why.      He needs that information.

       22               Now, he didn't ask for it either.        He could have

       23    said, Hey, these things were prescribed by doctors all over the

       24    country.   I think I should talk to some of them.         He didn't say

       25    that to the government.
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         1                But you know who did get the provider information?

         2   Dr. K did.    Dr. K didn't need it.     Why is there different types

         3   of information going to these experts?        Ask yourself that.

         4                When I asked Dr. Waller about his methodology and

         5   being peer-reviewed, his snarky response was, I wasn't aware I

         6   was writing a paper.

         7                You're not, Dr. Waller.     You're doing something much

         8   more important, much more important than writing a paper.

         9                He agreed that doctors have a difference of opinion.

       10    He agreed that people get second opinions for a reason.           He may

       11    think what he wants to think, but the physician on the ground

       12    treating the patient knows what they're doing.

       13                 And to suggest that one individual can get up here

       14    and look at some data sets and make a determination that all of

       15    the other doctors in this case, over 1,000 of them, that

       16    reviewed patient information, have the patient in front of

       17    them, knew their history and prescribed what they did somehow

       18    don't know what they're doing and are wrong is preposterous.

       19    It's asinine.    That's more reasonable doubt.

       20                 The government has brought up this idea about some of

       21    the labs bill 98 percent of their claims as confirmations, 98

       22    percent.

       23                 Well, you heard testimony about how you can't bill a

       24    screen if it was done by the clinic, by the physician.           And if

       25    all they're asking for are confirmations, then that's what you
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         1   can bill.   That's it.

         2               But you also heard testimony that the screens are run

         3   in every case to verify the validity of the samples for the

         4   confirmation.    You have to run a screen to make sure there's no

         5   adulterants in it or anything that's going to mess up that

         6   sample for the confirmation.       So they did.    And they did not

         7   bill it, which is why only 2 percent of the screens were

         8   billed.

         9               But you know what, if they were trying to commit

       10    fraud, and this was only about money to them, and they were

       11    trying to misrepresent information, they would have billed

       12    every single screen, too.

       13                And what you would hear is, there's a perfect 50/50

       14    on the screens and on the confirmations.         There were X numbers

       15    of screens run and X number of confirmations.          And everything

       16    that was done was billed.

       17                Because you know what, they could have made a whole

       18    lot more money by billing all of those extra screens.           They

       19    didn't do that because it's not right to do that.          That would

       20    be fraud.

       21                So what?   They only billed what they were able to.

       22    All of the other ones that they ran they didn't bill.           But they

       23    ran them anyway, to make sure that the confirmation samples

       24    were accurate.

       25                COURTROOM DEPUTY:     Mr. Schwartz, you have 15 minutes.
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         1                MR. SCHWARTZ:   Thank you.

         2                You heard a lot about the money trail.       There's

         3   nothing hidden in this.      The accounts were opened up by the

         4   individuals that were the owners of the company.

         5                Their real dates of birth were used.       Their real

         6   names were used.     Their real identifying information was used.

         7   Their real addresses were used.       There were checks written

         8   between companies.     There were wire transfers between

         9   companies.    There were no piles of cash.

       10                 You didn't hear about millions of dollars switching

       11    hands in cash.    You didn't hear about offshore transfers and

       12    piles of shell companies where one company creates five others

       13    and has accounts all over the world and moves money that way.

       14    You didn't hear any of those things.

       15                 You didn't hear where there was a bunch of cash going

       16    to some restaurant and money was coming out the other side to

       17    make it look legitimate.      No.

       18                 All of this is right on its face.      Company A pays

       19    Company B through a check.      And it's written that way.       It's

       20    signed by the individuals that are the -- the owners or the

       21    relevant parties.     It's deposited in American bank accounts.

       22                 There's no straw people.     You didn't see any checks

       23    written to John Doe or Jane Smith or somebody else that has

       24    nothing to do with anything.        You didn't see any witnesses that

       25    were like, Oh, well, I received a million dollars from Pinnacle
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         1   and I don't really know what's going on, but they paid me money

         2   to do that.

         3              None of that happened.        Because they were running

         4   this corporation the way that they knew how to correctly.            This

         5   wasn't hidden.    This isn't some grand criminal enterprise.

         6   They're not trying to hide anything from anyone.

         7              Mr. Jim Porter is charged with conspiracy to commit

         8   health care fraud and, I believe, 13 money laundering counts.

         9   But, notably, what he's not charged with is a health care fraud

       10    count, a substantive health care fraud count, something that

       11    says, Look at this specific act, this specific thing, because

       12    that is a violation of law.      Nope.

       13               And it's not like they're trying to save space,

       14    because they hit him for 13 money laundering counts.           Ask

       15    yourself why.

       16               They want to lump him in with a bunch of other people

       17    and confuse the issues and say, Somewhere, something, somehow

       18    he made an agreement to do something illegal.

       19               He didn't.    This was an under arrangement situation.

       20    Money was put into the hospitals to build their labs to make

       21    themselves sufficient.      The billing was absolutely authorized

       22    and lawful.    It was done the only way it could have been done,

       23    the same way that Quest and Putnam are still doing it today.

       24               There's reasonable doubt everywhere, everywhere.              The

       25    contract issues that were brought up by the government, that's
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         1   just a matter of interpretation.       There's nothing clear and

         2   unambiguous in there.

         3              Those are civil issues.       Those are not criminal

         4   issues.   They're civil in nature.

         5              The idea that the insurance companies weren't paying

         6   attention is unbelievable, they weren't paying attention to the

         7   141 code, the one thing that told them that these were

         8   reference lab billings.

         9              In one of the jury instructions you'll see the advice

       10    of counsel defense that my client Jim Porter raises.           And

       11    that's a good faith reliance on the advice of counsel.           Good

       12    faith is a complete defense to the counts Jim Porter is charged

       13    with.

       14               And because the government must prove beyond a

       15    reasonable doubt that he acted with the intent to defraud, good

       16    faith is extremely important.       Evidence that Mr. Porter acted

       17    in good faith and followed the advice of counsel is

       18    inconsistent with that unlawful intent.

       19               And you'll see in the jury instructions, Unlawful

       20    intent has not been proved if a defendant, before acting, made

       21    a full and complete good faith report of all material facts to

       22    an attorney he considered competent.

       23               I'd submit to you that Mark Thomas is an absolute

       24    health care specialist.      To suggest that he's not competent is

       25    ridiculous.    He is one of 128 health care specialists in the
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         1   state of Florida with the Florida Bar, out of 128,000

         2   attorneys.    He has prosecuted fraud.      He knows what it is.         And

         3   he listened to Mr. Porter and gave him advice.

         4                Now, Mr. Porter received Mr. Thomas' advice as to the

         5   specific course of conduct that was followed, and Mr. Porter

         6   reasonably relied on that advice in good faith.

         7                The government wants to tell you that Mr. Porter

         8   didn't disclose all of the stuff.       No, he did.     You heard me

         9   question Mr. Thomas up here.

       10                 The government wants to point to Mr. Thomas' opinion.

       11    You just saw again that that's a marketing and promotional

       12    opinion for when Putnam goes online with its own lab.           That has

       13    nothing to do with the under arrangement model that was already

       14    running and authorized.

       15                 The government wants to confuse you.       But it's not

       16    confusing.

       17                 Mr. Porter fully disclosed what he was thinking about

       18    doing to Mark Thomas.     Mark Thomas heard that, gave his advice

       19    based on federal law, and Mr. Porter followed that advice.

       20                 And the information that you've heard in this case is

       21    exactly what that advice was.       Pinnacle was going to partner up

       22    with hospitals, with agreements to test the hospital samples.

       23                 Those samples could come from anywhere in the

       24    country.   Those samples could be sent directly to Pinnacle or

       25    the hospital.    And the hospital could forward them, whichever,
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         1   didn't matter.

         2              The hospital would do the accession and put the data

         3   into the LIS systems.     The hospital would do the billing.         The

         4   lab would send the results to the providers.         The hospital

         5   would receive the moneys from the insurance company, pay the

         6   lab, keep the difference, and do it again.

         7              That's what this is.      The hospitals would bill with

         8   their own NPI and their own EIN.       The labs would do the

         9   testing.

       10               That's what this is.      That's what Mark Thomas

       11    testified was absolutely lawful, and otherwise known as under

       12    arrangement.    And that's what Michael Arrigo testified is

       13    absolutely lawful and otherwise known as under arrangement.

       14               There's no conspiracy to commit health care fraud by

       15    Mr. Porter.    There's no money laundering by Mr. Porter.         The

       16    government has absolutely failed to prove their case.           I submit

       17    to you the only correct verdict in this case to Mr. Porter is

       18    not guilty on all counts.

       19               I thank you for your time and I thank you for your

       20    service.

       21               THE COURT:    Thank you, Mr. Schwartz.

       22               Mr. Rowland?

       23               MR. ROWLAND:     Your Honor, we've got a bit of a lineup

       24    change.

       25               THE COURT:    Okay.
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         1              MR. ROWLAND:     Ms. Galnor I believe is going to go

         2   ahead and summarize now.

         3              THE COURT:    All right.    Ms. Galnor.

         4              MR. ROWLAND:     And just so the Court knows,

         5   Mr. Lowther will probably be going next as well.

         6              THE COURT:    Thank you.

         7              MS. GALNOR:    It's nice not to go last.

         8              May it please the Court?

         9              THE COURT:    Yes.

       10               MS. GALNOR:    Counsel.

       11               So a few weeks ago when we all first met, I remember

       12    saying in my opening statement that this was going to be a long

       13    ride.   I'm not sure that any of us fully appreciated then how

       14    long that ride was actually going to be, but here we are at the

       15    end, finally.

       16               I also told you in my opening that I would be brief

       17    and succinct and prepared in my questioning and my presentation

       18    of my case on behalf of Mr. Alonzo.          And I hope I have lived up

       19    to that.

       20               I would also like to remind each of you the most

       21    important thing I said in my opening statement.          And at the

       22    time I yanked it from Mr. Rafferty.          And I'm going to do that

       23    here again today.

       24               I told you Mr. Alonzo didn't lie, he didn't cheat, he

       25    didn't steal, he didn't misrepresent anything, and he didn't
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         1                Thank you.

         2                THE COURT:   Thank you.   Mr. Rowland.

         3                MR. ROWLAND:   Good afternoon.     I know you haven't

         4   seen me in about six weeks.      I'm Caleb Rowland.      I represent

         5   Sean Porter.

         6                I'm going to echo what my co-defense counsel said,

         7   thank you for the attention that you've shown during all this

         8   testimony.    I know it's been a lot.      I've noticed that several

         9   of you have been taking notes.       I know that Mr. Porter

       10    appreciates that.

       11                 If you recall when I first talked with you in the

       12    opening, I told you that the government's case basically boiled

       13    down -- at least as to Mr. Sean Porter, basically boiled down

       14    to throwing large numbers at you and expecting you to convict.

       15                 And what did they do?     They did exactly that.     I'll

       16    show you two of their charts.

       17                 Your Honor, if I could approach and put this up so

       18    y'all can see.

       19                 $1.4 billion in alleged fraudulent -- and what did

       20    they show you?    A bunch of large numbers, including 952,000,

       21    27.2 million, plus 80,000.      It wasn't even explained to you.

       22    And then in terms of the actual charges against Mr. Porter, go

       23    back to what I talked about earlier, two checks $75,000 each.

       24                 Now, I'm not psychic.     Don't ask me for lottery

       25    numbers or picks on an NFL game.       The reason I told you that is
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         1   because that's all that they have, from the beginning.           That's

         2   all they've had against Mr. Porter.

         3                Now, the government also told you this morning, these

         4   defendants were, quote, making more money than they should

         5   have.    That's really what this boils down to.

         6                The government had insurance company executives come

         7   in and talk about the, quote, services that they provide their

         8   members, as if they're doing something out of the goodness of

         9   their heart.

       10                 Let's be perfectly clear.     Insurance companies are

       11    not in the business of paying out claims.         They're in the

       12    business of taking in premium payments and paying as few claims

       13    as possible.

       14                 Florida Blue, Aetna, United decided they were paying

       15    more than they wanted to, bottom line.

       16                 Now, I'm not going to go into a lot of the health

       17    care fraud issues, because my co-defense counsel has already

       18    done that.    And I anticipate Mr. Sadow will do that.

       19                 And I'm also not going to go into a lot of the jury

       20    instructions, because you've already gone over them, and you're

       21    going to have them.     You'll know what they say.       I would ask

       22    you to think about a couple of things that are involved in

       23    those.

       24                 And I appreciate the way -- I appreciate the way that

       25    Ms. Galnor put it to you, in terms of the standard that the
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         1   government has to meet.

         2              Proof so convincing that you would be willing to rely

         3   and act on it without hesitation in the most important of your

         4   own affairs.

         5              Has any of the evidence that you've heard against

         6   Mr. Porter -- and to be fair, he's been mentioned like six

         7   times in six weeks.     Has any of that evidence risen to the

         8   level that you would be willing to rely and act on it without

         9   hesitation in the most important of your own affairs?

       10               Now, throughout this trial the government has had the

       11    burden of proving to you beyond a reasonable doubt that

       12    Mr. Porter committed a crime.       That burden was theirs and

       13    theirs alone.

       14               I submit to you that you haven't heard any evidence

       15    that reaches the level of being so convincing that you would be

       16    willing to rely on it as to any of the defendants, but

       17    certainly not as to Mr. Porter.

       18               Mr. Hayes told you that this case is simple and there

       19    is no doubt at all.     Well, one of the things I'll highlight for

       20    you is if it takes two experts, $650,000 worth of time to

       21    explain to you whether a crime has been committed or not, that

       22    by itself is reasonable doubt.

       23               And the biggest question here is:        Was there any

       24    crime committed?     Based on the evidence the government has put

       25    on for you, the answer to that has to be no.
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         1              The government didn't show you one law or regulation

         2   that prohibits what the defendants in this case did.

         3              And as to Mr. Porter, what did you hear?         He was an

         4   employee responsible for setting up a reference lab.           No

         5   evidence that he had any real involvement in the business side

         6   of the lab's work.

         7              Now, remember what Dr. Fender told you when she was

         8   testifying about speaking with Mr. Porter when she was

         9   concerned about this reference lab.

       10               If you recall, she was talking about her blood

       11    pressure being high.     And she said that -- after talking with

       12    Sean Porter, my blood pressure lowered.

       13               She felt like her concerns had been addressed.

       14               The other interesting thing to me is that the

       15    evidence shows that Mr. Porter was working to set up the exact

       16    lab the government complains wasn't available for testing.               Of

       17    course it wasn't.     It was being set up.

       18               And Mr. Porter and his -- his brother Jim Porter

       19    spent tremendous amounts of money to get a high-quality working

       20    lab going at Putnam County.

       21               Mr. Porter is charged with one count of conspiracy to

       22    engage in money laundering and two counts of substantive money

       23    laundering, meaning actual money laundering.

       24               Part of what the government has to prove to you --

       25    and this is contained -- the language here is contained both in
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         1   the jury instructions and in the superseding indictment.

         2              But in terms of the substantive money laundering

         3   counts, Counts Sixteen and Twenty-Two, one of the things the

         4   government has to prove to you beyond a reasonable doubt is

         5   that he knew that the funds involved in those two transactions,

         6   those two $75,000 transactions, were the proceeds of some

         7   illegal activity.

         8              Now, knowledge or knowingly isn't, Well, he should

         9   have known, or he could have known, or he probably knew.           He

       10    has to have actual personal knowledge.

       11               And for those counts that means that he knew that the

       12    funds were the proceeds of some illegal activity.          In terms of

       13    the conspiracy count, Count Eight, again, the government has to

       14    prove to you that he knew when he agreed to engage in the

       15    transaction the funds were the proceeds of illegal activity.

       16               It took the government almost $700,000 to explain to

       17    you why this allegedly was illegal.

       18               Now, Mr. Schwartz went over the advice-of-counsel

       19    defense, so I'm not going to belabor that point.          But there are

       20    some questions that I think would be important for you to ask

       21    yourselves while you're deliberating.

       22               Did you hear any evidence of any agreement between

       23    Mr. Porter and anyone else?      Did you hear any evidence that

       24    Mr. Porter knew the government considered any of these payments

       25    that he allegedly agreed to receive were for something illegal?
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         1   Did you hear about Mr. Porter trying to conceal those payments?

         2                And, by the way, notice those payments were literally

         3   written to him.    Okay?    He deposited those into an account for

         4   a company that, when you look at our Exhibit 1, you'll see has

         5   his name on it.    It's publicly available on a State of Florida

         6   website.

         7                Did you hear about the use of aliases of fake names?

         8   Did you hear about hidden accounts, offshore accounts?           Did you

         9   hear about Mr. Porter and his brother creating any false

       10    documents?    Did you hear about sham investments, putting the

       11    money into diamonds or art, crypto currency?         Did you hear

       12    about any strawman account holders, somebody else holding on to

       13    the money for him, any false information on any bank documents?

       14                 You didn't hear about any of that.      And you can use

       15    that to determine the knowledge requirement.

       16                 You're going to see, if you look at Mr. Porter's

       17    exhibit, that TYSI, LLC, his company, was created in 2013, over

       18    three years prior to the events that are covered in the

       19    indictment.

       20                 And, again, what evidence did you hear that convinces

       21    you beyond a reasonable doubt?       And to be very clear, that's up

       22    here.   Okay?   This isn't more likely than not.        This isn't

       23    probably happened.     This is up here.

       24                 What evidence did you hear that convinces you beyond

       25    a reasonable doubt that Mr. Porter knew the payments he
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         1   received were for something the government considered illegal?

         2   That itself is reasonable doubt right there.

         3              Now, one other thing that I brought up in the

         4   questioning of Ms. Henderson, Kimberly Henderson, the FBI's

         5   forensic accountant -- note that both of these are checks and

         6   they're handwritten.

         7              And if you recall Ms. Henderson's testimony, she said

         8   that it didn't involve a wire transfer, didn't involve an

         9   internet transfer, those checks were most likely

       10    hand-delivered.

       11               She also confirmed that the account that those checks

       12    went into was located in Ocala, Florida.         And she confirmed

       13    that the account that those checks came from was located in

       14    Ocala, Florida.

       15               The government has to prove to you that these

       16    transactions affected interstate commerce for it to be a

       17    federal crime.    They haven't done that.      They haven't met that

       18    burden.

       19               So putting aside all the other issues that there is

       20    in the case, if you want to find something to hang your hat on,

       21    there it is.

       22               There is no evidence that those transactions affected

       23    interstate commerce, meaning obviously between two states, or

       24    foreign commerce, meaning between the U.S. and a foreign

       25    country.   That's a minimum requirement for a conviction here.
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         1   And the government hasn't proven that to you.

         2              If you think back to the testimony that Mark Thomas,

         3   the attorney, gave, Mr. Porter and his brother relied on the

         4   advice of counsel and followed their lawyer's opinion after

         5   having informed that lawyer of the specific acts they planned

         6   to take.   That's a complete defense.

         7              Mr. Schwartz went over that when he was talking about

         8   Jim Porter.    And, also, notice the sleight of hand here.         The

         9   letter deals with marketing.       Mr. Thomas told you that he

       10    orally gave his opinion on the under arrangement that Jim

       11    Porter's lab, Pinnacle, was involved in, and HLP.

       12               Now, as to the government's witnesses -- and these

       13    are just things that kind of caught my attention during the

       14    trial.   And I wrote them down.

       15               On the health care fraud counts, you heard that the

       16    insurance companies' own clearinghouses changed the information

       17    that's sent from the providers before it ends up reaching the

       18    insurance companies.

       19               And, also, take into account that while the

       20    investigation was ongoing, the government's own case agent went

       21    to work for one of the alleged victims here, Florida Blue,

       22    Robert Schwinger.

       23               In case you're interested in what he looks like, my

       24    understanding is he's sitting right back there now.           First time

       25    he's been here.
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         1              You're the ultimate judge in terms of the credibility

         2   of the government's witnesses.       Again, not going to belabor

         3   that point.    But think about this, one of the government's star

         4   witnesses couldn't be trusted not to get intoxicated before he

         5   came in and testified to you, couldn't be trusted not to.

         6              If you think about Michele Jordan, the attorney that

         7   testified earlier in this case, why is it that the defense is

         8   the one who's providing you with the text message, where she's

         9   talking about how great this would be for the hospital?

       10               And if you notice, every time one of the government's

       11    witnesses would give them an answer they didn't want, you'd

       12    start hearing about money again, large amounts of money.

       13               Again, I'm not a psychic.       It doesn't take a psychic

       14    to figure out that they're going to lean heavily on what they

       15    allege to be fraudulent billing.

       16               Now, after Judge Corrigan gives you your instructions

       17    and you go back to the jury room to deliberate, the issues that

       18    I brought up here and the issues that my colleagues have

       19    brought up should be of the utmost importance for you to

       20    thoughtfully, fully, and seriously consider.

       21               Because as several of the defense counsel have told

       22    you, this is the most important day of every one of these

       23    defendants' lives.

       24               There is simply insufficient evidence to convict

       25    Mr. Porter of any crime.      And I say that because there is no
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         1   evidence of a crime being committed here.

         2              We're asking you to hold the government to their

         3   standard of proof.     We've all implicitly agreed by living in

         4   the country past the age of 18 that there's certain rules that

         5   we're going to play by.

         6              And one of those is that if the government is going

         7   to convict you of a crime, they have to prove beyond a

         8   reasonable doubt that that crime occurred and that you did it.

         9   Not maybe he did it.     Not he could have done it.       Not he most

       10    likely did it.    Not he probably did it.      Beyond a reasonable

       11    doubt he did it.

       12               When you were sworn as witnesses [sic] you're

       13    required to leave -- you weren't required to leave your common

       14    sense at the door.     Ms. Galnor brought that up.

       15               THE COURT:    You said sworn as witnesses.       Were you --

       16               MR. ROWLAND:     I apologize.    When you were sworn as

       17    jurors -- I misspoke -- you weren't required to leave your

       18    common sense at the door.      Use that.

       19               If you hold the government to their standard of

       20    proof, beyond a reasonable doubt, I'm confident that you'll

       21    return with a verdict of not guilty on all counts against

       22    Mr. Porter and you'll send him home to his family.

       23               Thank you.

       24               THE COURT:    Thank you, Mr. Rowland.

       25               We'll take a recess.      It's 3:17.    Let's try to come
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                                           CERTIFICATE


               UNITED STATES DISTRICT COURT         )
                                                    )
               MIDDLE DISTRICT OF FLORIDA           )




                     I hereby certify that the foregoing transcript is a true

            and correct computer-aided transcription of my stenotype notes

            taken at the time and place indicated herein.



                     DATED this 6th day of July, 2022.




                                s/Shannon M. Bishop
                                Shannon M. Bishop, RDR, CRR, CRC
